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IN THE UNITED sTATEs DISTRICT coURT mm BY¢'/---°'°-

 

FoR THE wEsTERN DIsTRICT oF TENNESSE
wESTERN DIVISION FOS JUL 22' PH |= 58
lim .
G.-EHX)U‘.`S_.§BST&CTUBT
UNITED sTATEs oF AMERICA W Grzre.;k»’».‘:%rLDHLS

Plaintiff,

v(lww

Criminal No.Ul- ZOBEEYMl

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The Case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23. 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

This document entered on the docket sheetl; conY|iance
with Flu|e 55 and/or 32{1')) FRCrP on " -

Case 2:04-cr-20339-.]PI\/| Document 44 Filed 07/22/05 Page 2 of 3 Page|D 42

50 0RDERED this 22nd day of July, 2005.

9 NYO.QQ
JO PHIPPS MCCALLA
TED S'I'ATES DISTRICT JUDGE

S'Z;;»~M

Assistant United States Attorney

(/(/(/t\_,

 

 

 

 

 

Counsel for Defendant(s)

     

UNITED sTATE DISTRIC COUR - WTERN D's'TRCT OFTENNESSEE

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This notice confirms a copy cf the document docketed as number 44 in
case 2:04-CR-20339 Was distributed by faX, mail, cr direct printing on
July 25, 2005 tc the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

